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             United States Court of Appeals
                 for the Second Circuit
   NADINE GAZZOLA, individually, and as co-owner, President, and as BATFE
      Federal Firearms Licensee Responsible Person for Zero Tolerance
                         Manufacturing, Inc., et al.,

                                                        Plaintiffs-Appellants,
                                       v.

  KATHLEEN HOCHUL, in her Official Capacity as Governor of the State of New
York, STEVEN A. NIGRELLI, in his Official Capacity as the Acting Superintendent
 of the New York State Police, ROSSANA ROSADO, in her Official Capacity as the
Commissioner of the Department of Criminal Justice Services of the New York
State Police, LETICIA JAMES, in her Official Capacity as the Attorney General of
                            the State of New York,
                                                         Defendants-Appellees.
                  [additional parties listed on following page]


                On Appeal from the United States District Court
                    for the Northern District of New York

                 OPPOSITION TO EMERGENCY MOTION


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      of Counsel                              Dated: September 8, 2023
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  SETH GAZZOLA, individually, and as co-owner, Vice President, and as BATFE
    FFL Responsible Person for Zero Tolerance Manufacturing, Inc., JOHN A.
HANUSIK, individually, and as owner and as BATFE FFL Responsible Person for
 d/b/a AGA Sales, JIM INGERICK, individually, and as owner and as BATFE FFL
   Responsible Person for Ingerick’s LLC, d/b/a Avon Gun & Hunting Supply,
    CHRISTOPHER MARTELLO, individually, and as owner and as BATFE FFL
 Responsible Person for Performance Paintball, Inc. d/b/a Ikkin Arms, MICHAEL
   MASTROGIOVANNI, individually, and as owner and BATFE FFL Responsible
  Person for Spur Shooters Supply, ROBERT OWENS, individually, and as owner
  and as BATFE FFL Responsible Person for Thousand Islands Armory, CRAIG
SERAFINI, individually, and as owner and as BATFE FFL Responsible Person for
  Upstate Guns and Ammo, LLC, NICK AFFRONTI, individually, and as BATFE
    FFL Responsible Person for East Side Traders LLC, EMPIRE STATE ARMS
                         COLLECTORS ASSOCIATION, INC.,

                                                     Plaintiffs-Appellants.
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                    PRELIMINARY STATEMENT

     Plaintiffs, who are retail sellers of firearms, challenge a series of

public safety measures regulating the sale of firearms in New York State.

Plaintiffs seek to halt the implementation and enforcement of these

measures by the New York State Police. The United States District Court

for the Northern District of New York (Sannes, C.J.) denied plaintiffs’

motion for a preliminary injunction. Plaintiffs appealed that denial and

moved for an injunction pending appeal, which this Court denied. The

Court heard argument in this case on March 20, 2023, and decision is

pending. Plaintiffs now make a second motion for an injunction pending

appeal, seeking to freeze the State Police’s implementation of firearm and

ammunition background checks and inspections by the State Police of

firearm retail stores. The requested relief is part of the more sweeping

relief at issue in plaintiffs’ pending appeal, though plaintiffs now advance

new arguments in support.

     The Court should deny this motion too. Preliminarily, plaintiffs did

not seek injunctive relief pending appeal in the district court, as required

by Federal Rule of Appellate Procedure 8(a). Nor have plaintiffs satisfied

any of the prerequisites for the extraordinary remedy of an injunction
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pending appeal. First, plaintiffs are not likely to succeed on the merits of

their claim that the State Police will exceed its authority under state law

by conducting background checks for transfers of shotguns and rifles.

That state law challenge is not cognizable in federal court, and in any

event misconstrues the applicable state law provision. Plaintiffs also fail

to explain why ammunition background checks and inspections of

firearm dealers violate federal law. Second, plaintiffs have not shown

irreparable harm absent an injunction. And third, the public interest

weighs in favor of the State Police’s continued implementation and

enforcement of these vitally important public safety measures.


                            BACKGROUND

     Plaintiffs commenced this lawsuit in November 2022 against the

Governor, Superintendent of the State Police, Commissioner of the

Division of Criminal Justice Services, and Attorney General of the State

of New York. Plaintiffs challenge a series of firearm safety laws enacted

by the State Legislature. As relevant here, plaintiffs challenge a

provision of the Concealed Carry Improvement Act (CCIA) authorizing

the State Police to serve as a “point of contact” for federal firearm

background checks. See Executive Law § 228. A state point of contact

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serves as an intermediary between firearm dealers and the National

Instant Criminal Background Check System (NICS), and facilitates the

firearm background checks required by federal law. 1 See 18 U.S.C.

§ 922(t); 28 C.F.R. §§ 25.2, 25.6. Plaintiffs also challenge a separate provi-

sion of the CCIA requiring background checks for ammunition sales. See

Penal Law § 400.02(2). Under Executive Law § 228(7), these background

check procedures are set to come into effect within 60 days of the statute’s

July 15, 2023 effective date, i.e., on September 13, 2023. Finally, plain-

tiffs challenge General Business Law § 875-g(2), which directs the State

Police to conduct periodic onsite inspections of firearm dealers.

     Plaintiffs moved for a temporary restraining order and a prelimi-

nary injunction to enjoin implementation and enforcement of these and

other gun safety measures. The district court (Sannes, C.J.) denied this

motion. Plaintiffs appealed, and also moved for an injunction pending

appeal in this Court. See Emergency Mot., Dkt. 12 (Dec. 6, 2022). The

Court denied that motion on December 21, 2022. The Court explained



     1 Thirteen other states serve as full points of contact for federal

firearm background checks, and five states serve as partial points of con-
tact (facilitating background checks only for certain kinds of firearms).
See Fed. Bureau of Investigation, NICS Participation Map.
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that plaintiffs had failed to seek an injunction pending appeal in the dis-

trict court first, as required by Federal Rule of Appellate Procedure 8(a).

The Court further explained that injunctive relief pending appeal “would

not be warranted” in any event. Order, Dkt. 29 (Dec. 21, 2022). The

United States Supreme Court likewise denied plaintiffs’ application for a

writ of injunction, see Order in Pending Case, Gazzola v. Hochul,

No. 22A591 (Jan. 18, 2023), and later denied plaintiffs’ petition for certio-

rari before judgment, see Gazzola v. Hochul, No. 22-622 (Apr. 24, 2023).

     On March 20, 2023, after expedited briefing, this Court heard argu-

ment in this case and four others challenging additional provisions of the

CCIA. The appeal remains pending.

     Plaintiffs now move, again, for an injunction pending appeal.

Plaintiffs seek to enjoin the State Police’s implementation of firearm and

ammunition background checks, which are scheduled to begin on

September 13, 2023. See Executive Law § 228(7). Plaintiffs also seek to

restrain the State Police from conducting on-site inspections of firearm

dealers under General Business Law § 875-g(2).




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                               ARGUMENT

                                  POINT I

      THE MOTION SHOULD BE DENIED FOR FAILURE TO COMPLY
      WITH FEDERAL RULE OF APPELLATE PROCEDURE 8(A)

      Before moving for injunctive relief pending appeal in this Court,

plaintiffs were required to seek such relief in the district court. See Fed.

R. App. P. 8(a). Plaintiffs failed to do so, just as they failed to seek relief

in the district court before filing their first motion for an injunction pend-

ing appeal. The Court denied plaintiffs’ first motion for failure to comply

with Rule 8(a), and the Court should do the same here. See Agudath

Israel of Am. v. Cuomo, 979 F.3d 177, 180 (2d Cir. 2020); Hirschfeld v.

Bd. of Elections in City of N.Y., 984 F.2d 35, 38 (2d Cir. 1993).


                                 POINT II

      PLAINTIFFS ARE NOT ENTITLED TO AN INJUNCTION PENDING
      APPEAL

      In any event, plaintiffs have not shown that they are entitled to the

extraordinary remedy of an injunction pending appeal. To obtain this

relief, a movant must make a strong showing of likelihood of success on

the merits and demonstrate that irreparable harm is likely absent an

injunction. See Agudath Israel, 979 F.3d at 180; see also Respect Maine

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PAC v. McKee, 562 U.S. 996, 996 (2010); New York v. U.S. Dep’t of

Homeland Sec., 974 F.3d 210, 214 (2d Cir. 2020). The movant must also

demonstrate that an injunction is in the public interest. See Nken v.

Holder, 556 U.S. 418, 435 (2009). Plaintiffs cannot meet this standard.

     First, plaintiffs have not shown a likelihood of success on the

merits. Plaintiffs principally claim that State Police background checks

will violate state law. This claim, raised for the first time in this emer-

gency motion, is not cognizable in federal court. The Eleventh Amend-

ment bars claims in federal court against state officials acting in their

official capacities, except for “actions seeking only prospective injunctive

relief against state officials to prevent a continuing violation of federal

law.” In re Dairy Mart Convenience Stores, Inc., 411 F.3d 367, 371 (2d

Cir. 2005). “Federal court adjudication of a claim challenging a state

official’s conduct under state law,” therefore, is “not permissible.” All. of

Am. Insurers v. Cuomo, 854 F.2d 591, 604 (2d Cir. 1988) (citing Pennhurst

State School & Hospital v. Halderman, 465 U.S. 89, 106 (1984)); see also

Vega v. Semple, 963 F.3d 259, 284 (2d Cir. 2020). Thus, insofar as

plaintiffs claim that the State Police will exceed its authority under state




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law by conducting background checks for transfers of shotguns and rifles,

they cannot obtain the injunctive relief they seek in federal court.

     Plaintiffs’ state law claim challenging firearm background checks

also fails on the merits. State law authorizes the State Police “to serve as

a state point of contact for implementation” of “the national instant crimi-

nal background check system for the purchase of firearms.” Executive

Law § 228(1)(a). This provision incorporates by reference the federal

definition of firearms—which includes handguns, shotguns, and rifles,

see 18 U.S.C. § 921(a)(3)—rather than the narrower New York Penal Law

definition, see Penal Law § 265.00(3). Indeed, federal law requires back-

ground checks for all “firearms” as defined by federal law. See 18 U.S.C.

§ 922(t); 27 C.F.R. § 478.102. If the Legislature had intended for the State

Police to serve as a point of contact only for handgun purchases, as plain-

tiffs contend, the Legislature would have made that limitation explicit.

Thus, plaintiffs fail to show that State Police background checks for the

purchase of shotguns and rifles will violate state law.

     Plaintiffs’ remaining claims, challenging ammunition background

checks and inspections of dealer premises, likewise lack merit. Plaintiffs

make no argument explaining why either of these activities violates


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federal law. Plaintiffs therefore have failed to make the strong showing

of likelihood of success on the merits required to grant injunctive relief

pending appeal.

     Second, plaintiffs’ motion should be denied for the additional reason

that they fail to show irreparable harm absent an injunction. Plaintiffs

fail to explain what harm they will suffer from the State Police serving

as point of contact for federal background checks. Plaintiffs already

participate in firearm background checks, which again are required by

federal law. See 18 U.S.C. § 922(t). Plaintiffs also fail to explain what

harm they will suffer because of ammunition background checks. And

while one plaintiff (Craig Serafini) states that he fears imminent arrest

after a recent State Police inspection, nothing in the record suggests that

Serafini, or any other plaintiff, is under any actual or imminent threat of

prosecution. See Grand River Enter. Six Nations, Ltd. v. Pryor, 481 F.3d

60, 66 (2d Cir. 2007) (per curiam).

     Third, the public interest weighs against granting the injunctive

relief plaintiffs seek. An injunction at this point would be severely disrup-

tive. It would halt the State Police’s implementation of new background

check procedures. And it would cause chaos for firearm dealers who have


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been preparing to comply with those procedures. Additionally, an injunc-

tion would put the public at risk. It would delay the inspections designed

to ensure that firearm retailers are properly storing and monitoring their

inventories. Thus, the Court should deny plaintiffs’ motion for an injunc-

tion pending appeal and allow the State’s rollout of these firearm safety

measures to continue.


                               CONCLUSION

     This Court should deny plaintiffs’ motion for an injunction pending

appeal.

Dated: Albany, New York
       September 8, 2023

                                           Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 32(a) of the Federal Rules of Appellate Procedure,
Beezly J. Kiernan, an employee in the Office of the Attorney General of
the State of New York, hereby certifies that according to the word count
feature of the word processing program used to prepare this brief, the
brief contains 1,653 words and complies with the typeface requirements
and length limits of Rule 32(a)(5)-(7) and Local Rule 32.1.


                                        . /s/ Beezly J. Kiernan         .
